      EXHIBIT A




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Harbor Freight Tools                                                             Employee Handbook



                        DISPUTE RESOLUTION PROCESS
DISPUTE RESOLUTION POLICY

This Dispute Resolution Policy (“DRP”) provides for mandatory arbitration of employment disputes
in accordance with the employment arbitration rules of the American Arbitration Association (“AAA
Rules”).

The DRP covers any disputes relating to or arising out of your employment relationship with Harbor
Freight Tools or termination of that relationship, including any disputes between you and Harbor
Freight Tools and any of its parent, subsidiary, affiliated and/or related entities, and its and their
current and former shareholders, directors, officers, supervisors, employees, representatives,
agents, and attorneys, except those claims specifically excluded below (hereinafter “Claim(s)”).
Claim(s) include any and all claims or disputes for which a state or federal court otherwise would be
authorized to grant relief, including, but not limited to, claims based on any purported wrongful
termination, breach of contract, tort, public policy, failure to pay wages or other compensation,
discrimination, harassment, or retaliation, as well as any claims under the Americans With
Disabilities Act, the Age Discrimination in Employment Act, Title VII of the Civil Rights Act of 1964
and its amendments, or any state or local wage/hour, discrimination or other employment law, as
well as any other legal claims and causes of action recognized by local, state, or federal laws,
constitutions or regulations.

The DRP excludes claims for workers’ compensation benefits, unemployment compensation
benefits, and claims based on a retirement or benefit plan containing an arbitration or other
resolution procedure. Nothing in the DRP shall preclude non‐waivable agency processing of
statutory claims filed with the appropriate state or federal agencies under applicable state or federal
laws or regulations, including the National Labor Relations Board, Equal Employment Opportunity
Commission, or other appropriate governmental agency. When agency processing is complete, this
DRP must be utilized for any further litigation of such Claim(s).

Harbor Freight Tools and you agree to resolve all Claim(s) solely by final and binding arbitration. The
arbitration shall be administered by the American Arbitration Association (“AAA”) in accordance
with the AAA employment arbitration rules (“AAA Rules”) in effect at the time the Claim(s) are
submitted. The AAA Rules are available for review at www.adr.org; however, if you would like to
review the AAA Rules and cannot locate them on that website, you may contact Human Resources
to obtain a copy. This mutual agreement to arbitrate Claim(s) means that both Harbor Freight Tools
and you are bound to use arbitration as the exclusive means of resolving such Claim(s), foregoing
any entitlement to a jury trial. Because the arbitration proceeding will be a traditional, bilateral
arbitration, it also means that both you and Harbor Freight Tools agree to forego and waive any
right to join or consolidate claims in arbitration with others or to make collective or class claims in
arbitration, either as a representative or a member of a class, unless such procedures are agreed to
by both you and Harbor Freight Tools.

The party seeking arbitration must initiate any Claim(s) with the AAA within the statute of
limitations provided by applicable law. Claim(s) will be decided by an impartial arbitrator chosen by
you and Harbor Freight Tools, or in the absence of such agreement, selected in accordance with the
applicable arbitration rules. You may be represented by your own attorney throughout the
arbitration process. Depositions may be taken, documents obtained and other discovery conducted

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in accordance with the applicable arbitration rules. The arbitrator may provide the same remedies
provided by law had the dispute been litigated in court. The arbitrator’s award shall be in writing
and must be supported with reasons, and it will be final and binding on all parties.

The DRP shall be governed solely by the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq.,
including its procedural provisions. In any court proceeding to enforce this arbitration agreement,
any claims not subject to arbitration, if any, shall be stayed pursuant to 9 U.S.C. § 3. Moreover, an
arbitration award may be vacated on any basis provided by applicable law, including, but not limited
to, the arbitrator’s exceeding of his/her jurisdiction, failure to comply with applicable arbitration
rules, or rendering an award which is irrational, is contrary to public policy, is unsupported by
substantial evidence, manifestly disregards the law, does not draw its essence from the applicable
agreement or provides remedies unavailable in court under applicable law.

The AAA and arbitrator’s fees and any other costs will be borne in accordance with the applicable
arbitration rules, but in no event will you be required to pay an amount in excess of what is allowed
under applicable law to enable enforcement of this agreement to arbitrate. This DRP shall survive
termination of your employment relationship and shall apply to any covered Claim(s) regardless of
when asserted. This DRP and the Employee Acknowledgement that accompanies your Employee
Handbook constitute the entire understanding between you and Harbor Freight Tools regarding
dispute resolution and supersede any and all previous oral or written communications on that
subject.

The DRP is a condition of both initial and continued employment and you agree to the DRP by
accepting and continuing your employment. If any DRP provision is determined to be void or
otherwise unenforceable, that provision shall be severed, and substituted with a lawful and
equitable provision to carry out its intent and purpose and to enable enforcement of this DRP. Any
such severance and/or substitution shall not affect the validity and enforceability of the remainder
of this DRP. The mutual agreement to arbitrate may not be modified or rescinded except by a
written statement signed by both you and Harbor Freight Tools, although specific DRP procedures
may be modified from time to time as required by applicable law. Your consent to any such
modifications will be implied by your continued employment after advance notice of any
modifications.



               EMPLOYMENT AT HARBOR FREIGHT TOOLS
“AT‐WILL” EMPLOYMENT

Notwithstanding any personnel policies intended to help improve employee performance prior to
involuntary termination, all employees regardless of whether their status is temporary, regular full‐
time, or regular part‐time, are employed “at‐will.” “At‐will” means that employment may be
terminated at any time by either the company or the employee, with or without cause and with or
without advance notice, and that Harbor Freight Tools reserves the right to change other terms and
conditions of the employment relationship.

The “at‐will” employment status of each employee cannot be altered by any verbal statement or
alleged verbal agreement. It can only be changed by a legally binding, written contract covering
employment status. An example of this would be a written employment agreement for a specific
duration of time.

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